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Judge WUken
                                                                              filed
United States District Court
                                                                                   05 2025
Northern District of California

JanuarySI,2025

Re: In re: College Athlete NIL Litigation, Case No. 4:20-cv-03919



Dear Judge WUken

Objection to the BNIL Settlement Criteria

My name is Landry Estes, and I am a former football player at Texas A&M University, where I
competed from January 2016 to December 2018.1 am writing to formally contest the
criteria for the damage class regardingthe Broadcast NIL(BNIL) portion of the House v.
National Collegiate Athletic Association settlements, specifically the Football and Men's ^
Basketball Class.

I walked onto the team as a sophomore after competing at the Division II level as a
freshman. I remained a walk-on for the entirety of my career, and that fact alone is the
reason for my objection today.

My core objection is this: the financial compensation awarded to plaintiffs should not be
based solely on scholarship status. As stated above, I was a walk-on for my entire time at
Texas A&M, I had little on-field playing time, but this objection is not about personal
statistics or highlight reels. It is about the disproportionate sacrifices and contributions of
walk-ons—athletes like myself who gave everything to their teams yet are excluded from
the compensation we rightfully deserve.

Like many walk-ons, I was not recruited with fanfare. As a high school offensive lineman, I
was undersized for my position. I never harbored NFL dreams because I understood my
physical limitations. But playing college football was my dream. And was the sole focus of
my athletic pursuits my entire young life. Just before signing day in 2014,1 received a call
from West Texas A&M,offering me a chance to visit. Given the late timing, i expected a
walk-on opportunity. Instead, I was offered a half-scholarship, which I immediately
accepted.

However, Division II football was not what I envisioned. After one season, I made the
difficult choice to step away from athletics and transfer to Texas A&M to focus on my
education. Then, I experienced Kyle Field as a student for the first time. The roar of 105,000
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